       Case: 1:20-cv-01824-SL Doc #: 11 Filed: 10/15/20 1 of 2. PageID #: 479



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO

 SYMBOLOGY INNOVATIONS, LLC,
                                                    Civil Action No.: 1:20-cv-01824-SL
            Plaintiff,

       v.                                           TRIAL BY JURY DEMANDED

 SWAGELOK COMPANY,

             Defendant.

                               JOINT MOTION TO DISMISS

       Now come Plaintiff, Symbology Innovations, LLC, and Defendant, Swagelok Company,

by and through their undersigned counsel, pursuant to Fed. R. Civ. P. 41, and hereby move this

Court to dismiss all claims against Defendant Swagelok Company WITH PREJUDICE and all

counterclaims against Plaintiff Symbology Innovations, LLC WITHOUT PREJUDICE, with each

party to bear its own attorneys’ fees and costs. The parties believe that the Motion to Dismiss

currently pending [D.E. 10] in this matter is now moot.

 Dated: October 15, 2020                Respectfully submitted,

                                        SAND, SEBOLT & WERNOW CO., LPA

                                        /s/ Andrew S. Curfman
                                        Andrew S. Curfman (SBN 0090997)
                                        Aegis Tower – Suite 1100
                                        4940 Munson Street NW
                                        Canton, Ohio 44718
                                        Phone: 330-244-1174
                                        Fax: 330-244-1173
                                        andrew.curfman@sswip.com

                                        ATTORNEY FOR PLAINTIFF
      Case: 1:20-cv-01824-SL Doc #: 11 Filed: 10/15/20 2 of 2. PageID #: 480




                                       /s/ Nenad Pejic
                                       Nenad Pejic (Ohio Bar No. 0066347)
                                       npejic@calfee.com
                                       Andrew Alexander (Ohio Bar No. 0091167)
                                       aalexander@calfee.com
                                       CALFEE, HALTER & GRISWOLD LLP
                                       The Calfee Building
                                       1405 East Sixth Street
                                       Cleveland, Ohio 44114-1607
                                       Phone: (216) 622-8634

                                       ATTORNEYS FOR DEFENDANT
                                       SWAGELOK COMPANY


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on October 15, 2020, to all counsel of record who are deemed to have consented

to electronic service via the Court’s CM/ECF system.



                                                   /s/ Andrew S. Curfman
                                                   Andrew S. Curfman




                                               2
